Case 1:14-ml-02570-RLY-TAB Document 12501-1 Filed 12/02/19 Page 1 of 1 PageID #:
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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION
 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
 ___________________________________________


                            EXHIBIT A TO MOTION TO DISMISS
                   FOR FAILURE TO SERVE CASE CATEGORIZATION FORM


    Plaintiff                Cause Number      Lead Counsel

    Crawford, Phillip        1:19-cv-03858     MCSWEENEY LANGEVIN LLC

    Shelton, Christopher     1:19-cv-03993     OSBORNE & FRANCIS LAW FIRM,
                                               PLLC
    Booth, Cheryl            1:19-cv-04074     WILSHIRE LAW FIRM PLC

    Scott, Sinnia            1:19-cv-04134     THE SEIDEMAN LAW FIRM, PC

    Garnett, Joey            1:19-cv-04196     MARTIN BAUGHMAN, PLLC

    Bevins, Jennifer         1:19-cv-04198     MCSWEENEY LANGEVIN LLC




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